                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

  SYLVESTER ALLEN, JR., et al.,

                         Plaintiffs,
  v.

  CITY OF GRAHAM, et al.,                                   1:20-cv-0997-CCE-LPA

                         Defendants.


  JUSTICE FOR THE NEXT
  GENERATION, et al.,

                         Plaintiffs,

                 v.                                        1:20-cv-00998-CCE-LPA

  TERRY JOHNSON, individually and in his
  official capacity as Alamance County
  Sheriff, et al.,

                         Defendants.


        PARTIAL CONSENT MOTION FOR LEAVE TO TAKE LIMITED
        EARLY DISCOVERY AND TO EXTEND THE TIME LIMIT FOR
                            SERVICE

       NOW COME Plaintiffs in both above-captioned actions, pursuant to Fed. R. Civ. P.

6(b) & 26(d)(1), and L.R. 6.1 & 37.1, and respectfully move this Court for leave to take

limited discovery prior to the Rule 26(f) conference for the purpose of ascertaining the

identities of the Jane and John Doe Defendants (“Doe Defendants”), and an extension of

time to effect service on the Doe Defendants in accordance with Rule 4(m) of the Federal

Rules of Civil Procedure of sixty (60) days from the later of either: 1) entry of an order
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granting this partial consent motion; or 2) entry of an order authorizing the production and

protecting the confidentiality of information and documents covered by N.C. Gen. Stat.

§160A-168.

       Plaintiffs’ counsel affirms that she has conferred extensively in good faith with

counsel for the Defendants who have thus far been served in this case to obtain their consent

to the discovery and extension of time requested. Counsel for Alamance County

Defendants have indicated that they cannot consent to the instant motion for limited early

discovery, but have expressed willingness (subject to a Consent Protective Order under

negotiation by the parties) to identify all personnel of the Alamance County Sheriff’s

Office who either deployed OC compound / pepper spray or authorized its deployment via

production of all Use of Force and incident reports related to the October 31, 2020 March

to the Polls that is the subject of this action. City of Graham Defendants do not consent to

the motion for limited early discovery, and have not indicated that, absent an order

authorizing the requested early discovery by this Court, they would be willing to produce

such information subject to a Consent Protective Order. Both the Alamance County

Defendants and the City of Graham Defendants consent to the extension of time to serve

Doe Defendants requested in this motion.

       This motion is supported by the accompanying memorandum of law, which is

incorporated by reference herein.




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This the 5th day of March, 2021.

                /s/ Elizabeth Haddix
                Elizabeth Haddix
                North Carolina Bar No. 25818
                ehaddix@lawyerscommittee.org
                Mark Dorosin
                North Carolina Bar No. 20935
                mdorosin@lawyerscommittee.org
                Lawyers’ Committee for Civil
                Rights Under Law
                P.O. Box 956
                Carrboro, NC 27510
                Tel: 919-914-6106

                /s/ Jennifer Nwachukwu
                Jennifer Nwachukwu
                Maryland Bar No. 20869
                jnwachukwu@lawyerscommittee.org
                Lawyers’ Committee for Civil
                Rights Under Law
                1500 K Street N.W., Suite 900
                Washington, D.C. 20005
                Tel: 202-662-8300
                Notice of Special Appearance Filed

                /s/Jaclyn Maffetore
                Jaclyn Maffetore
                North Carolina Bar No. 50849
                jmaffetore@acluofnc.org
                Kristi L. Graunke
                North Carolina Bar. No. 51216
                kgraunke@acluofnc.org
                Daniel K. Siegel
                North Carolina Bar No. 46397
                dsiegel@acluofnc.org
                ACLU of North Carolina
                Foundation
                P.O. Box 28004
                Raleigh, NC 27611-8004
                Tel: 919-834-3466


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               Jason Keith
               North Carolina Bar No. 34038
               Keith & Associates, PLLC
               241 Summit Avenue
               Greensboro, NC 27401
               Tel: 919-914-6106

               Counsel for Justice for the
               Next Generation Plaintiffs


               /s/ Leah Aden
               Leah Aden*
               laden@naacpldf.org
               Natasha Merle
               nmerle@naacpldf.org
               Anuja Thatte*
               athatte@naacpldf.org
               Ashok Chandran*
               achandran@naacpldf.org
               NAACP Legal Defense &
               Educational Fund, Inc.
               40 Rector Street, 5th Floor
               New York, NY 10031
               Tel.: (212) 965-2200
               *Notice of Special Appearance
               Filed

               Geraldine Sumter
               North Carolina Bar No. 11107
               gsumter@fergusonsumter.com
               Ferguson Chambers & Sumter,
               P.A.
               309 East Morehead Street,
               Suite 110
               Charlotte, NC 28202
               Tel.: (704) 375-8461




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               C. William Phillips*
               cphillips@cov.com
               Covington & Burling LLP
               620 8th Avenue
               New York, NY 10018
               Tel.: (212) 841-1081

               Marianne Spencer*
               mspencer@cov.com
               Covington & Burling LLP
               850 Tenth Street, N.W.
               Washington, DC 20001

               Morgan Lewis*
               melewis@cov.com
               Covington & Burling LLP
               415 Mission Street
               San Francisco, CA 94105-
               2533

               *Notice of Special Appearance
               Filed

               Counsel for the Allen Plaintiffs




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                           CERTIFICATE OF SERVICE


              I certify that on March 5, 2021, I electronically filed the foregoing
PARTIAL CONSENT MOTION FOR LEAVE TO TAKE LIMITED EARLY
DISCOVERY AND TO EXTEND THE TIME LIMIT FOR SERVICE with the Clerk
of Court using the CM/ECF system, which will serve all counsel of record in this action.

                                                           /s/Jaclyn A. Maffetore
                                                           Jaclyn A. Maffetore

                                                           Counsel for Justice for the
                                                           Next Generation Plaintiffs




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